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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                BIG STONE GAP DIVISION


UNITED STATES OF AMERICA                        )
                                                )
V.                                              ) Court No. 2:22CR00010
                                                )
LYNN EDWARD (“PETIE”) BOWEN II                  )

                               FINAL ORDER OF FORFEITURE

        WHEREAS on October 11, 2023, this Court entered a Preliminary Order of Forfeiture

pursuant to 18 U.S.C. §§ 934(a)(1)(B) and 924(d) and Federal Rule of Criminal Procedure 32.2,

based upon the guilty plea of Defendant to a violation of 18 U.S.C. § 933(a), the criminal violation

giving rise to the forfeiture, thereby providing for forfeiture of certain property;

        AND WHEREAS on November 30, 2022, notice of the forfeiture was posted on an official

government internet site (www.forfeiture.gov) for at least thirty consecutive days, thereby

providing notice of this forfeiture and of the intent of the United States to dispose of the property

in accordance with the law and further notifying all third parties of their right to petition the Court

for a hearing to adjudicate the validity of their alleged legal interest in the asset;

        AND WHEREAS, the United States has served or attempted to serve all persons and

entities known to them with a possible interest in the assets;

        AND WHEREAS, it appears from the record that the time has expired for the timely filing

of claims, and that no petitions, contested or otherwise, have been filed for the forfeited property.

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        (A) All right, title, and interest to the following described property is forfeited to the United

States of America, and shall be disposed of according to law.
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           Asset ID No.                                 Item Description
 (1)      22-ATF-042181      Smith & Wesson, Model 60, .38 Caliber Revolver SN: R99428
 (2)      22-ATF-042183      3 Rounds Remington and Peters .38 Caliber Ammunition

          (B) Unless specifically set forth in this Order, no right, title, or interest in the above

forfeited property shall exist in the following persons and/or entities, nor any other person or entity

that failed to file a petition or otherwise appear herein:

                 1. Lynn Edward (“Petie”) Bowen, II

                 2. James Hunsacker

          (C) As there was reasonable cause for the seizure of the property, no person shall be entitled

to costs and/or attorney fees as a result of the seizure and forfeiture, nor shall the United States, its

officers, agents, servants, successors, or assigns, be liable to suit or judgment on account of this

action.

          (D) The Court shall retain jurisdiction to enter any orders necessary to amend or enforce

this Order.

          (E) This matter may be stricken from the active court docket.




                              ENTERED THIS _______ DAY OF JANUARY, 2024.


                                         _________________________________
                                         UNITED STATES DISTRICT JUDGE




                                                    2
